Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 1 of 13. PageID #: 775




                         EXHIBIT C
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 2 of 13. PageID #: 776
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 3 of 13. PageID #: 777
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 4 of 13. PageID #: 778
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 5 of 13. PageID #: 779
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 6 of 13. PageID #: 780
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 7 of 13. PageID #: 781
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 8 of 13. PageID #: 782
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 9 of 13. PageID #: 783
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 10 of 13. PageID #: 784
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 11 of 13. PageID #: 785
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 12 of 13. PageID #: 786
Case: 1:15-cv-01586-CAB Doc #: 61-3 Filed: 08/25/17 13 of 13. PageID #: 787
